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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 JAZZ PHARMACEUTICALS, INC.,     )
                                 )          PUBLIC VERSION
                Plaintiff,       )
                                 )
        v.                       )          C.A. No. 21-691 (GBW)
                                 )
 AVADEL CNS PHARMACEUTICALS LLC, )
                                 )
                Defendant.       )


 JAZZ PHARMACEUTICALS, INC. and  )
 JAZZ PHARMACEUTICALS IRELAND    )
 LIMITED,                        )
                                 )
                Plaintiffs,      )
                                 )
        v.                       )          C.A. No. 21-1138 (GBW)
                                 )
 AVADEL CNS PHARMACEUTICALS LLC, )
                                 )
                Defendant.       )


 JAZZ PHARMACEUTICALS, INC. and  )
 JAZZ PHARMACEUTICALS IRELAND    )
 LIMITED,                        )
                                 )
                Plaintiffs,      )
                                 )
        v.                       )          C.A. No. 21-1594 (GBW)
                                 )
 AVADEL CNS PHARMACEUTICALS LLC, )
                                 )
                Defendant.       )


                     DECLARATION OF RICHARD K. BOGAN
             IN RESPONSE TO DR. STERN, DR. AJAYI, & MS. LAVENDER


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        I, Richard K. Bogan, M.D., FCCP, submit this declaration in response to the declarations

 submitted by Dr. Thomas Stern, Dr. Akinyemi Ajayi, and Maggie Lavender, FNP in this

 proceeding.

 I.     EXPERT QUALIFICATIONS

        1.      I am an expert in the field of sleep medicine and have a recognized reputation for

 patient care in the diagnosis and treatment of sleep disorders. With 35 years of experience in the

 sleep medicine field, I built the largest sleep company in the nation. I have also helped

 numerous board-certified pulmonologists and neurologists establish sleep disorder laboratories in

 local community hospitals and provided them with training, peer review, and support. I am

 American Board-certified in internal medicine, pulmonary disease, and sleep medicine. I am

 also an Associate Clinical Professor at the University of South Carolina Medical School,

 Columbia, South Carolina. I have nearly 50 years’ experience practicing medicine, and have

 been involved in clinical trial investigations for more than 25 years, including for both Jazz

 Pharmaceuticals, Inc. (“Jazz”) and Avadel CNS Pharmaceuticals, LLC (“Avadel”).

        2.      I earned a Bachelor of Science degree from Wofford College, Spartanburg, South

 Carolina, in 1966. In 1970, I was awarded my Medical Degree from the Medical University of

 South Carolina, Charleston, South Carolina. From 1970-1971, I was an Intern at the University

 of Alabama Hospital and Clinics, Birmingham, Alabama. In 1974, I became a Resident in

 internal medicine at the University of Alabama Hospital and Clinics, and held that position until

 I was promoted to Chief Resident in 1975. In 1976, I earned a fellowship in the University of

 Alabama School of Medicine’s Pulmonary Division, Department of Medicine, and held that

 position until 1978. I spent the brief absence from my educational background, from 1972-1974,

 serving as Lt. Commander in the United States Navy.



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        3.      I am currently the owner of Bogan Sleep Consultants, LLC and the President of

 Bogan Sleep Consultants, PA. I am also Associate Clinical Professor at the University of South

 Carolina Medical School and Medical University of South Carolina. From 1999 to 2020, I was

 the Chief Medical Officer of SleepMed, Inc.

        4.      I have been licensed to practice medicine since 1971. I am licensed in South

 Carolina. In 1975, I became American Board-certified in Internal Medicine. In 1978, I gained

 my certification from the American Board of Pulmonary Diseases. In 1989, I became one of the

 first physicians in the nation to become American Board-certified in Sleep Medicine. In 2009, I

 obtained a Sleep Medicine Certificate from the American Board of Medicine.

        5.      Since 1980, I have devoted my practice of medicine to the diagnosis and

 treatment of various sleep disorders. From 1978-1994, I also practiced in the field of pulmonary

 and critical care medicine. In 1994, I founded Sleep Disorder Centers of America, and served as

 its President until 1999. In 1999, Sleep Disorder Centers of America merged with DigiTrace

 Care Services, Inc. to form SleepMed, Inc. Upon merger, I was named Chairman, Chief Medical

 Officer, a position I held until a merger and subsequent sale. SleepMed, Inc. merged with

 Watermark Inc. in April 2013 to establish the largest sleep diagnostic, therapeutic, and research

 sleep company in the United States. SleepMed, Inc. still operates after acquisition in 2020 by

 BioSerenity, Inc. and has over one hundred hospital-based and freestanding sites. An estimated

 200,000 sleep studies are performed each year at SleepMed, Inc.

        6.      In addition to practicing medicine, I have also been Principal Investigator on more

 than 120 clinical trials investigating sleep disorders. I am former Chairman of the National Sleep

 Foundation 2019-2021 and Director 2011-2021. In the past, I have also been Medical Director

 for both Premier Health Systems, Inc. and Baptist Physician Partners. I also served on the Board



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 of Directors for Premier Health Systems, Inc., as well as the American Lung Association, South

 Carolina.

         7.      Over my career, I have been a member of a number of professional organizations.

 These organizations include the American Academy of Sleep Medicine, American Medical

 Association, American College of Chest Physicians, American Thoracic Society, South Carolina

 Medical Association, and South Carolina Lung Association.

         8.      I have authored or co-authored more than 100 publications, including

 approximately 30 peer-reviewed publications and 80 abstracts focused on sleep disorder

 diagnosis and management, including narcolepsy and idiopathic hypersomnia (“IH”). I have

 published on behalf of both Jazz and Avadel. I have also been invited to give lectures on several

 occasions.

         9.      For a complete list of my professional experience, publications, and invited

 lectures, please see my curriculum vitae attached hereto as Exhibit A.

         10.     I am being compensated at my usual rate of $550/hour in connection with this

 proceeding. My compensation is not dependent in any way on the outcome of anything related

 to this declaration.

 II.     MATERIALS CONSIDERED

         11.     The materials that I have reviewed in connection with my opinions include: the

 declarations submitted by Dr. Thomas Stern (“Stern Decl.”), Dr. Akinyemi Ajayi (“Ajayi

 Decl.”), and Maggie Lavender, FNP (“Lavender Decl.”), and any other documents cited herein.

         12.     The opinions below are based on my education and the experience that I have

 acquired during the course of my clinical practice treating patients with sleep disorders, as well

 as the information available to me as of the date of this declaration.



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 III.   RESPONSE TO DR. STERN, DR. AJAYI, & MS. LAVENDER

        A.      Idiopathic Hypersomnia & Narcolepsy Are Different Disorders
                With Different Diagnostic Criteria

        13.     Narcolepsy and IH are two unique chronic sleep disorders with the common

 symptom of excessive daytime sleepiness (“EDS”). See Morse, A.M., et al., Dosing

 Optimization of Low-Sodium Oxybate in Narcolepsy and Idiopathic Hypersomnia in Adults:

 Consensus Recommendations, Neurol Ther. 2024 Apr 25, at p. 2, attached as Exhibit (“Ex.”) B

 (“Morse 2024”). Patients with narcolepsy are generally diagnosed as having one of two types of

 narcolepsy. In both types, narcolepsy patients typically experience EDS, fragmented sleep, sleep

 paralysis where a patient is temporary unable to move or speak while falling asleep or waking

 up, and hypnagogic hallucinations (vivid images accompanying sleep paralysis). Id. In

 narcolepsy type 1, patients also suffer from cataplexy which is the sudden loss of muscle tone

 while a person is awake, often triggered by sudden, strong emotions such as laughter, fear, or

 anger. Patients with narcolepsy type 2 do not suffer cataplectic attacks.

        14.     Idiopathic hypersomnia is a different sleep disorder from narcolepsy. Patients

 with IH and narcolepsy both suffer from EDS. IH patients, however, present other symptoms

 that are typically distinct from narcolepsy such as sleep inertia where the patient experiences

 difficulty waking from a long sleep, unrefreshing naps, and long sleep times of 11 or more hours

 per 24-hour period. Ex. B, Morse 2024 at 2. In addition, pursuant to the International

 Classification of Sleep Disorders Third Edition (“ICSD-3”), a diagnostic criteria for IH is a

 finding of less than two sleep onset rapid eye movement periods (“SOREMPs”) on the multiple

 sleep latency test (“MSLT”). Ex. C, Dauvilliers, Y., et al., Clinical considerations for the

 diagnosis of idiopathic hypersomnia, Sleep Med Rev. 2022 Dec:66:101709 (“Dauvilliers 2022”)

 at Supplemental Table 1. The MSLT is a test used to determine whether a person is prone to


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 falling asleep during the daytime. REM sleep is a stage of sleep associated with dreaming and

 memory consolidation where your eyes move rapidly.

        15.     In their declarations, Dr. Stern and Ms. Lavender appear to imply that narcolepsy

 type 2 and IH are not separate conditions. Dr. Stern states that “Idiopathic hypersomnia is

 another rare sleep disorder that is best thought of as being on a spectrum with narcolepsy.” Stern

 Decl. ⁋ 14. Ms. Lavender states that “It makes no sense to me to think of it as something

 separate from narcolepsy.” Lavender Decl. ⁋ 9. I disagree.

        16.     Dr. Stern and Ms. Lavender appear to draw their conclusions regarding their

 perceived lack of distinction between IH and narcolepsy type 2 from instances where SOREMP

 MSLT results are not reproducible. See Stern Decl. ⁋ 14; Lavender Decl. ⁋ 9. The SOREMP

 MSLT, however, is not the only diagnostic criteria for IH. Rather, IH is also characterized by

 EDS, lack of cataplexy, at least one of mean sleep latency less than or equal to 8 minutes or total

 sleep time of 11 hours or more per 24 hours, and hypersomnolence and/or MSLT findings that

 are not better explained by other causes. Ex. C, Dauvilliers 2022 at Supplemental Table 1. I

 note that Dr. Stern and Ms. Lavender do not appear to disagree that the lack of cataplexy in IH

 distinguishes it from narcolepsy type 1.

        17.     In determining whether hypersomnolence or MSLT findings are better explained

 by other causes, the treating physician may consider other characteristic features of IH that

 distinguish it from narcolepsy type 2. For example, strong sleep inertia is typically more

 prevalent in IH than narcolepsy type 2. Also, IH patients typically have longer sleep time than

 narcolepsy type 2 patients who typically have fragmented sleep. In addition, patients with

 narcolepsy type 2 tend to find naps refreshing whereas IH patients may take long naps but they

 are usually not refreshing. I am a co-author of the Dauvilliers 2022 paper relied on by Dr. Stern



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 in his declaration and we included all of these features as being diagnostic distinctions between

 IH and narcolepsy type 2. See Ex. C, Dauvilliers 2022 at Fig. 2. Indeed, my coauthors and I

 concluded in our paper that “the well-informed healthcare practitioner is equipped to distinguish

 idiopathic hypersomnia from other conditions marked by EDS and other overlapping symptoms

 through thoughtful application of both clinical judgment and appropriate testing.” Id. at 7. I did

 not see any statement by Dr. Stern or Ms. Lavender disagreeing with this statement, nor do I

 believe they would have a basis to do so. Rather, in my opinion, for physicians treating a patient

 with EDS, it would be well within their capabilities to distinguish between IH and narcolepsy

 type 2.

           18.   My opinion in this regard is confirmed by the weight of the literature which

 consistently characterizes IH and narcolepsy type 2 as distinct diseases. See Ex. B, Morse 2024

 at 2 (“Narcolepsy and idiopathic hypersomnia are unique chronic sleep disorders”); Ex. C,

 Dauvilliers 2022 at 7 (“Idiopathic hypersomnia may coexist with other disorders, such as

 depression, but is incompatible with others, such as narcolepsy”); Ex. D, Landzberg, D and

 Trotti, L.M., Is Idiopathic Hypersomnia a Circadian Rhythm Disorder?, Curr. Sleep. Med. Rep.

 5(4):201-206 (2019) (“IH is diagnosed based on clinical history in combination with objective

 quantification of excessive daytime somnolence through the multiple sleep latency test, ad lib 24

 hour polysomnography, or at least 7 days of ad lib actigraphy, after excluding other causes of

 sleepiness such as narcolepsy type 1 [and] narcolepsy type 2”); Ex. E, Bruck, D. and Parkes,

 J.D., A comparison of idiopathic hypersomnia and narcolepsy-cataplexy using self report

 measures and sleep diary data, JNNP 60:576-578 (1996) (“Idiopathic hypersomnia (IH) has

 been distinguished from narcolepsy on the basis of the presence of prolonged rather than short

 diurnal sleep periods and the absence of both cataplexy and episodes of rapid eye movement at



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 the onset of sleep”); Ex. F, Manfredi, R.L., et al., Disorders of excessive sleepiness: narcolepsy

 and hypersomnia, Semin. Neurol. 7(3):250-58 (1987) (“Nocturnal sleep is typically disrupted in

 narcolepsy, whereas in idiopathic hypersomnia it is prolonged”). Based on the above, in my

 opinion, a healthcare professional treating patients with sleep disorders would understand and

 recognize that IH and narcolepsy type 2 are distinct disease states. I note that the U.S. Food and

 Drug Administration (“FDA”) required separate clinical trials for Xywav to be approved for

 treating IH in addition to the prior clinical trials required for approval to treat narcolepsy, which

 in my opinion, further supports that IH and narcolepsy are understood and recognized to be

 separate conditions.

        B.      Xywav Once-Nightly Is Effective To Treat Idiopathic Hypersomnia

        19.     Xywav is approved to treat IH with dosing both once-nightly and twice-nightly.

 Ex. G, Xywav package insert at 1. In their declarations, Dr. Stern and Ms. Lavender call into

 question the efficacy of Xywav administered once nightly to treat IH. Dr. Stern states that he

 believes that the once-nightly option for Xywav to treat IH is “is inferior for most patients.”

 Stern Decl. ⁋ 17. Ms. Lavender states that a “second dose is necessary to get effective relief.”

 Lavender Decl. ⁋ 9. In my opinion, though this might be Dr. Stern and Ms. Lavender’s personal

 experience in whatever number of patients they treat, there is not any basis to apply these

 statements more broadly.

        20.     Neither Dr. Stern nor Ms. Lavender cite to any data to support their assertion that

 once-nightly Xywav lacks efficacy to treat IH. Indeed, I am not aware of any. To the contrary, I

 am aware of clinical data supporting the efficacy of once-nightly dosing of Xywav to treat IH.

 My sleep clinic was part of the clinical trial work that was the data supporting approval of

 Xywav for use in IH and some of my patients with IH were included in the study that formed the

 basis of the FDA’s approval of once-nightly Xywav for IH.
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         21.     Following the FDA’s approval of once-nightly Xywav to treat IH in August 2021,

 I and others involved in the clinical trial published our findings in the article Dauvilliers, Y., et

 al., Safety and efficacy of lower-sodium oxybate in adults with idiopathic hypersomnia: a phase

 3, placebo-controlled, double-blind, randomised withdrawal study, Lancet Neurol. 2022

 Jan;21(1):53-65 (“Xywav IH Study”) (attached as Ex. H.)

         22.     In the Xywav IH Study, my co-authors and I explained that we conducted a phase

 3, placebo-controlled, double-blind, randomized withdrawal study in adults with IH in which

 Xywav demonstrated significant, clinically meaningful effects on EDS, IH symptom severity,

 and self-reported patient global impression of change. Ex. H, Xywav IH Study at 53.

 Randomized double blind placebo-controlled studies are considered the “gold standard” of

 epidemiologic studies because these types of studies have the ability to demonstrate causality.

         23.     In our study, IH patients were administered Xywav either once or twice nightly.

 Ex. H, Xywav IH Study at 53. The median dose total dose of Xywav administered was 4.5 g per

 night for once-nightly and 7.5 g per night for twice-nightly. Id. at 61. The primary efficacy

 parameter measured in the study was whether the patients’ Epworth Sleepiness Scale (“ESS”)

 score increased (worsened) for patients on placebo compared to patients on Xywav. The ESS is

 an assessment used to determine how daytime sleepiness affects a patient’s ability to complete

 routine tasks. The data showed that for both once and twice-nightly dosing, ESS scores at the

 end of the study were maintained with double-blind Xywav treatment, whereas a significant and

 clinically meaningful increase (worsening) occurred with placebo. Id. at 63; Figure 2B.

         24.     Further, a statistical analysis conducted after completion of the study concluded

 that the ESS score primary efficacy results were similar across the dosing regimen (once or twice

 nightly) subgroups. Ex. H, Xywav IH Study at 63, supp. appendix p. 2. So, rather than being



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 inferior or not effective as suggested by Dr. Stern and Ms. Lavender, the once-nightly dose of

 Xywav administered to treat IH was found to be similarly effective to twice-nightly. Further, the

 median dose administered in the Xywav IH study for once-nightly dosing was 4.5 g per night

 which is lower than the 6 g per night permitted by the FDA-approved labeling for once-nightly

 IH dosing for Xywav. In my opinion, the FDA would not have approved Xywav for once-

 nightly dosing in IH without adequate clinical data establishing safety and efficacy for those

 patients.

         25.    As noted above, Dr. Stern and Ms. Lavender cite no data for their assertions that

 once-nightly dosing for Xywav is ineffective. Quite the opposite, the data presented in the

 Xywav IH Study establishes that Xywav is effective when administered once-nightly to treat IH.

 The data is also consistent with my experience treating IH patients with Xywav once nightly. In

 my opinion, a healthcare professional treating sleep disorder patients would understand that

 Xywav can safely and effectively be administered once-nightly to treat IH.

         C.     Lumryz Is Not Safer or More Effective Than Xywav

         26.    There is no clinical data that I am aware of to show that Lumryz is either safer or

 more effective that Xywav in treating narcolepsy. The FDA agreed that there is no such data

 when it reviewed Avadel’s application to market Lumryz. While I agree with Dr. Ajayi that the

 FDA found that in its judgment Lumryz makes a major contribution to patient care due to it

 being more convenient to patients, the FDA also made clear that there is no basis for Avadel or

 others to assert that Lumryz has greater safety or efficacy than twice-nightly oxybate. The FDA

 specifically found that “there is no evidence suggesting that the efficacy of Lumryz is different

 from that of Xyrem or Xywav.” Ex. I, FDA determination of Lumryz orphan drug exclusivity at

 JTX-0112.28. Avadel specifically argued to the FDA that Lumryz would be safer than twice-



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 nightly oxybate but the FDA rejected this and “concluded that Avadel’s arguments do not

 support a finding of greater safety of Lumryz over either Xyrem or Xywav.” Id.

        27.     Despite the FDA’s finding of no greater safety or efficacy for Lumryz, in their

 declarations, Dr. Stern, Dr. Ajayi, and Ms. Lavender appear to imply that Lumryz is better at

 treating the conditions of narcolepsy than Xywav. For example, Dr. Stern states that Lumryz

 offers patients “a normal sleep architecture” because there is no awakening for a second dose.

 Stern Decl. ⁋ 13. Dr. Ajayi states that having patients wake for a second dose is “antithetical to

 the goal of consolidating nighttime sleep in narcolepsy patients.” Ajayi Decl. ⁋ 22. Ms.

 Lavender states that after switching to Lumryz a patient “no longer suffers from fragmented

 sleep.” Lavender Decl. ⁋ 18. To the extent that Dr. Stern, Dr. Ajayi, and Ms. Lavender are

 implying that narcolepsy patients taking Lumryz no longer suffer from disrupted sleep, I do not

 believe that is supported by any data.

        28.     The currently available data do not show that once-nightly dosing provides better

 or more effective sleep than twice-nightly oxybate. See Ex. J, Roth, T., et al., Effect of FT218, a

 Once‑Nightly Sodium Oxybate Formulation, on Disrupted Nighttime Sleep in Patients with

 Narcolepsy: Results from the Randomized Phase III REST‑ON Trial, 36 CNS Drugs 377, 385

 (2022) (“Roth 2022”) (“Whether the increase in [slow wave sleep] with ON-SXB confers

 additional clinical benefits merits further research.”). While all patients with narcolepsy have

 many more awakenings than the average human, twice-nightly sodium oxybate therapy has been

 shown to significantly reduce those awakenings. See Ex. K, Black et al., The Nightly Use of

 Sodium Oxybate Is Associated with a Reduction in Nocturnal Sleep Disruption: A Double-Blind,

 Placebo-Controlled Study in Patients with Narcolepsy, 6(6) J. Clin. Sleep Medicine 596 (2010)

 (“The nocturnal administration of SXB to narcolepsy [patients] results in significant dose-related



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 changes in sleep architecture resulting in decreased sleep disruption and increased slow wave

 sleep. These findings are consistent with improvement in measures of sleep continuity and

 suggest SXB may promote some amelioration of the sleep fragmentation that is common in

 narcolepsy”). The number of awakenings and brief arousals as well as REM dissociative

 symptoms in untreated narcolepsy patients has been shown to significantly improve with oxybate

 therapy.

        29.     One awakening to take a twice-nightly oxybate is not considered material. There

 is no clinical or research data of which I am aware (or that Dr. Stern, Dr. Ajayi, or Ms. Lavender

 cites to) indicating that once-nightly dosing will eliminate nocturnal arousals, which are a normal

 component of any given individual’s sleep cycles, and extremely prevalent in narcolepsy

 patients. The data from Avadel’s study on Lumryz show nocturnal arousals for patients taking

 Lumryz. There, patients taking Lumryz went from a baseline around 80 nocturnal arousals to

 around 40 nocturnal arousals. See Ex. J, Roth 2022 at Fig. 2. So, the patients taking Lumryz

 still experienced nocturnal arousals, but they were reduced by the patients taking oxybate. This

 is not surprising given that I had previously worked with a group of researchers to determine the

 effects on sleep architecture in a placebo-controlled randomised study of twice-nightly sodium

 oxybate. See Ex., L, Mignot, E., et al., Effects of Sodium Oxybate Treatment on Sleep

 Architecture in Paediatric Patients with Narcolepsy, World Sleep (2019) (“Mignot”). The

 published data from our study shows a similar effect on nocturnal arousals for twice-nightly

 sodium oxybate as that observed for Lumryz. Specifically, in our study, we found that twice-

 nightly sodium oxybate reduced nocturnal arousals from around 80 at the beginning of the study

 to around 40 at the end of the study. Ex. L, Mignot at Fig. 2. While there are no head-to-head

 studies available for Lumryz and twice-nightly oxybate, the available data suggests that they



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 have a similar effect on sleep architecture. Dr. Stern, Dr. Ajayi, and Ms. Lavender do not cite

 any data to the contrary. Their analysis, instead, appears hypothetical.

        30.     Dr. Stern, Dr. Ajayi, and Ms. Lavender also cite to patient compliance with the

 dosing regimen as a perceived benefit of Lumryz over Xywav. See Stern Decl. ⁋⁋ 7, 10; Ajay

 Decl. ⁋⁋ 19, 21; Lavender Decl. ⁋⁋ 3, 12. In my opinion, however, compliance issues with

 Xywav in narcolepsy patients are not solely due to twice-nightly dosing. Rather, these

 compliance issues are also due to the nature of the oxybate drug given that it must be taken at

 night, at least 2 hours after eating, with enough time for its effects to wear off before the patient

 must awake and start their day. Also, oxybate is a strong central nervous system depressant that

 cannot be taken with other central nervous system depressants, including alcohol.

        31.     These issues with oxybate are unrelated to twice-nightly dosing and also apply to

 Lumryz. Also, Lumryz must be mixed with water and taken by the patient pursuant to a specific

 series of steps in the Lumryz instructions for use that are provided to a patient which also lead to

 compliance and dosing errors. See Ex. M. This has been borne out in adverse event data

 reported to the FDA since Avadel began marketing Lumryz.

        32.     The FDA maintains a database called the FDA Adverse Event Reporting System

 (“FAERS”) that contains adverse event reports, medication error reports, and product quality

 complaints resulting in adverse events for drug products that were submitted to the FDA. The

 FDA makes this adverse event information available to the public through the FAERS

 dashboard, which allows for searching by drug product name at the FAERS dashboard website. 1

 A report containing the adverse events reported to FAERS for Lumryz is attached as Ex. N.


        1
            The FAERS dashboard can be searched at the website
 https://www.fda.gov/drugs/questions-and-answers-fdas-adverse-event-reporting-system-
 faers/fda-adverse-event-reporting-system-faers-public-dashboard.

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        33.      Of the approximately 630 adverse event reports made so far for Lumryz, over 120

 reports concerned a “dose omission,” “product preparation error,” “drug titration error,” or

 “treatment noncompliance.” See Ex. N. These types of errors are indicative of patients failing to

 comply with the dosage and administration instructions required for Lumryz. Consequently, in

 my opinion, removing the second nightly dose of oxybate for narcolepsy patients does not

 eliminate patient non-compliance issues for Lumryz as suggested by Dr. Stern, Dr. Ajayi, and

 Ms. Lavender.

        34.      Dr. Stern, Dr. Ajayi, and Ms. Lavender also discuss patient anxiety relating to

 twice nightly oxybate dosing. See Stern Decl. ⁋ 11; Ajay Decl. ⁋ 19; Lavender Decl. ⁋ 12. But

 FAERS data reports over 40 patients experienced anxiety while taking Lumryz. See Ex. N. Ms.

 Lavender expressed concern over patients gaining weight while on Xyrem (Lavender Decl. ⁋ 14)

 but at least 13 patients taking Lumryz have reported “hunger” or “weight increased” (Ex. N). In

 addition, there have been over 300 reports of patients experiencing insomnia, which is the

 opposite effect that Lumryz is intended to have, while taking Lumryz. Ex. N.



        I declare under penalty of perjury that the foregoing is true and correct.




 Dated: May 20, 2024




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